
13 N.Y.3d 791 (2009)
FREDERICK LAWRENCE et al., Individually and on Behalf of ALEXANDER A. LAWRENCE, an Infant, Plaintiff, and
MARION LAWRENCE, Appellant,
v.
ALBANY COUNTY DEPARTMENT FOR CHILDREN, YOUTH AND FAMILIES, Respondent. (And Other Related Actions.)
Court of Appeals of New York.
Submitted July 27, 2009.
Decided September 22, 2009.
On the Court's own motion, appeal, insofar as taken from that part of the Appellate Division order that affirmed the dismissal of the complaint, dismissed, without costs, upon the ground that no appeal lies as of right from that part of the unanimous Appellate Division order absent the direct involvement of a substantial constitutional question; appeal otherwise dismissed, without costs, upon the ground that the remainder of the Appellate Division order does not finally determine the action within the meaning of the Constitution. Motion, insofar as it seeks leave to appeal from that part of the Appellate Division order that affirmed the dismissal of the complaint, denied; motion, insofar as it seeks leave to appeal from the remainder of the Appellate Division order, dismissed upon the ground that it does not finally determine the action within the meaning of the Constitution. Motion for poor person relief dismissed as academic.
